898 F.2d 968
    29 Wage &amp; Hour Cas. (BN 1258, 116 Lab.Cas.  P 35,381
    Frederick George BRIGHT, Plaintiff-Appellant,v.HOUSTON NORTHWEST MEDICAL CENTER SURVIVOR, INC., Defendant-Appellee.
    No. 88-2884.
    United States Court of Appeals,Fifth Circuit.
    April 4, 1990.
    
      Maurice Bresenhan, Jr., Campbell, Athey, Zukowski &amp; Bresenhan, Houston, Tex., for plaintiff-appellant.
      Gail Magers, Sullins Johnston Rohrbach Magers, Houston, Tex., for defendant-appellee.
      Appeal from the United States District Court for the Southern District of Texas;  Lynn Hughes.
      ON PETITION FOR REHEARING AND SUGGESTION FOR REHEARING EN BANC
      (Opinion November 21, 1989, 5 Cir., 1989, 888 F.2d 1059)
      Before CLARK, Chief Judge, GEE, REAVLEY, POLITZ, KING, JOHNSON, WILLIAMS, GARWOOD, JOLLY, HIGGINBOTHAM, DAVIS, JONES, SMITH, and DUHE, Circuit Judges.
    
    BY THE COURT:
    
      1
      A member of the Court in active service having requested a poll on the suggestion for rehearing en banc and a majority of the judges in active service having voted in favor of granting a rehearing en banc,
    
    
      2
      IT IS ORDERED that this cause shall be reheard by the Court en banc with oral argument on a date hereafter to be fixed.  The Clerk will specify a briefing schedule for the filing of supplemental briefs.
    
    